                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                3:11-CR-00337-RJC-DSC

USA                                                )
                                                   )
   v.                                              )                   ORDER
                                                   )
NATALIA CHRISTINA WADE (8)                         )
                                                   )

         THIS MATTER is before the Court upon its own motion and the defendant’s motion to

join a co-defendant’s motion challenging the validity of the verdict. (Doc. No. 509).

         The Court finds good cause to grant the motion to join and that resolution of the motion

challenging the verdict requires a continuance of the sentencing hearing currently scheduled for

October 21, 2014.

         IT IS, THEREFORE, ORDERED that the defendant’s motion to join, (Doc. No. 509),

is GRANTED and the above captioned case be continued to a date to be announced by separate

order.

         The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.




                                                       Signed: October 14, 2014




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